     Case 3:07-cr-00135-MCR-CJK        Document 321       Filed 04/07/15   Page 1 of 1


                                                                                   Page 1 of 1


                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                               Case Nos.      3:07cr135/RV/CJK
                                                                3:12cv186/RV/CJK
ARMANDO CARDON-CORTEZ
____________________________/

                                           ORDER

       This cause comes on for consideration upon the magistrate judge’s Report and
Recommendation dated March 12, 2015 (doc. 317). The parties have been furnished a
copy of the Report and Recommendation and have been afforded an opportunity to file
objections pursuant to Title 28, United States Code, Section 636(b)(1). I have made a de
novo determination of the timely filed objections (doc. 320).
       Having considered the Report and Recommendation, and the objections thereto, I
have determined that the Report and Recommendation should be adopted.
       Accordingly, it is now ORDERED as follows:
       1.     The magistrate judge’s Report and Recommendation is adopted and
incorporated by reference in this order.
       2.     The third amended motion to vacate, set aside, or correct sentence (doc.
278) is DENIED.
       3.     A certificate of appealability is DENIED.
       DONE AND ORDERED this 7th day of April, 2015.


                                           /s/ Roger Vinson
                                           Roger Vinson
                                           Senior United States District Judge
